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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
------------------------------X
UNITED STATES OF AMERICA,
                                           MEMORANDUM AND ORDER
                                            91-CR-1219(DRH)
              -against-

DARRYL BOARD

               Defendent.
------------------------------X
A P P E A R A N C E:

For the Government:
     Loretta Lynch
     United States Attorney
     Eastern District of New York
     610 Federal Plaza
     Central Islip, New York 11722
       By: Judy Phillips, A.U.S.A.

For Defendant:
     Darryl Board, Pro Se
     Inmate No. 38544-053
     P.O. Box 2000
     Whitedeer, Pennsylvania 17887

HURLEY, Senior District Judge

              Defendant Darryl Board (“defendant”), appearing pro se,

moves by application dated April 16, 2007, for a reduction of

sentence pursuant to 18 U.S.C. § 3582(c)(2).1           For the reasons

set forth below, defendant’s motion is denied.

                                 BACKGROUND

I.    Trial



      1
       By order dated August 12, 2010, the Second Circuit
granted defendant’s motion to proceed in forma pauperis in
seeking mandamus against the undersigned, but denied the mandamus
petition because defendant failed to demonstrate exceptional
circumstances warranting the requested relief. See Mandate,
Docket Entry No. 682.
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            Defendant’s trial, and that of his co-defendants,

lasted from April 27, 1993 to July 21, 1993.            At its conclusion,

defendant was convicted of the following offenses: conspiracy to

commit armed robberies in violation of 18 U.S.C. § 371 (Count 1);

one count of armed robbery in violation of 18 U.S.C. § 2114

(Count 2 - Brevoort Postal Station); two counts of armed robbery

in violation of 18 U.S.C. § 2113 (Count 20 - Bowery Savings Bank,

and Count 28 - Anchor Savings Bank); three counts of using and

carrying a firearm during a crime of violence in violation of 18

U.S.C. § 924(c), viz.: Count 3 - Brevoort Postal Station, Count

21 - Bowery Savings Bank, and Count 29 - Anchor Savings Bank; and

one count of possession of proceeds from an armed robbery in

violation of 18 U.S.C. § 2113 (Count 30 - Anchor Savings Bank).

II.   Sentence

            Sentence was imposed on April 28, 1994.           As to Count 1,

the conspiracy count, defendant was sentenced to a 60 month term

of incarceration.      As to Counts 2, 20, 28, and 30, the

substantive robbery counts, he was sentenced to 140 months to be

served concurrently with each other, and with the sentence under

Count 1.    As to Count 3, the first of the three § 924(c) counts,

defendant was sentenced to a 5 year prison term, which was

directed to run consecutively.         Under Count 21 and 29, the two

remaining § 924(c) counts, he was sentenced to 20 years for each

count, to run consecutively to each other and to the sentences


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imposed on the other counts.        In total, defendant was sentenced

to 56 years and 8 months in prison.2          On April 30, 1996, the

Second Circuit Court of Appeals affirmed defendant’s conviction

and sentence.     See United States v. Williams, 101 F.3d 683 (2d

Cir. 1996), cert. denied, 519 U.S. 900 (1996).

III. Defendant’s Prior Applications Targeting His
     1993 Convictions and 1994 Sentence

                  A.    Applications Made Pursuant to
                        28 U.S.C. § 2255

            Defendant has made several unsuccessful post-sentence

collateral attacks on his conviction and/or sentence pursuant to

28 U.S.C. § 2255.      See, e.g., Board v. United States, No. 96-CV-

3840 (E.D.N.Y., dismissed by Order dated Sept. 20,

1999)(application for leave to file a successive             petition denied

by Second Circuit by Order dated February 15, 2006, see Mandate,

Docket Entry No. 87) and Board v. United States, 01-CV-2974

(E.D.N.Y., dismissed by Order dated Sept. 9, 2003) (application

for leave to file a successive petition denied by Second Circuit

by Order dated Nov. 4, 2003 see Mandate, Docket Entry No. 35).

                  B.    Application Made Pursuant to 18 U.S.C.
                        § 3582(c)(2)

            In the Spring of 2001, defendant filed a motion seeking



      2
       Due to ex post facto problems (Oct. 18, 1993 PSR ¶ 35),
the Guideline Manual in effect at the time the subject crimes
were committed, (i.e. 1991 with the last robbery being “in
October 1991”), was employed at sentencing. Apr. 28, 1994
Sentencing Tr. at 47.

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a sentence modification based on the retroactive application of

Sentencing Guideline Amendments 598, 599 and 600.             By Memorandum

and Order dated September 9, 2003, the requested relief was

denied in that (a) Amendments 598 and 600 could not be applied

retroactively, and (b) defendant’s sentence did not run afoul of

Amendment 599 given that the four-level weapon enhancement that

he received pursuant to Guideline § 2B3.1(b)(2)(B) pertaining to

the Mount Vernon robbery was imposed under Count 1, the

conspiracy count, i.e. was not related to a substantive robbery

count of conviction.

IV.   Defendant’s Present Application

            Defendant’s present application falls far short of

being a model of clarity.        I have reviewed his submissions,

including a letter dated March 26, 2007, filed on April 16, 2007;

a motion dated April 1, 2007, also filed on April 16, 2007; an

undated “reply to Government’s Response” filed August 24, 2007; a

letter dated September 5, 2007, filed September 7, 2007; and his

letter dated February 25, 2008.3            As best I can determine based

on that review, defendant seemingly seeks, pursuant to “18 U.S.C.

§ 3582(c)(2),” to be “resentenced” based on the retroactive

application of Sentencing Guideline “Amendment 599" (Def.'s Feb.



      3
       For citation purposes, henceforth only the filing date of
defendant’s various submissions will be used except for his two
submissions filed on April 16, 2007 for which the document’s date
will also be provided.

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25, 2008 Letter at 1), to correct the following purported

sentencing errors:

                  a) the forty-five years he received based on his

three § 924(c) convictions which, he proffers, “exceed the

maximum sentence authorize[d] for 924(c) offenses in [his] case”

(id.); and

                  b) the Court’s utilization of U.S.S.G. § 1B1.2(d)

in calculating the offense level for defendant’s conviction under

Count 1.

            These grounds will be discussed seriatim.

                                 DISCUSSION

I.    Preliminary Observations

            To place defendant’s arguments in context, the

following subjects warrant preliminary discussion: 18 U.S.C. §

3582(c)(2); Amendment 599; and the Mount Vernon robbery.

                  A) 18 U.S.C. § 3582(c)(2)

            18 U.S.C. § 3582(c)(2) permits a district court, after

considering the applicable factors in § 3553(a), to reduce a

defendant’s sentence when the defendant “has been sentenced to a

term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission” provided

that “such a reduction is consistent with the applicable policy

statements issued by the Sentencing Commission.”             In this case,

defendant contends that he is entitled to such a sentence


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reduction and that the Court should reduce his sentence by

applying Amendment 599 retroactive.          That Amendment, as one of

the ones listed in U.S.S.G. § 1B1.10(c), provides a vehicle, to

the extent applicable, for a reduction of sentence under §

3592(c)(2).

                  B)   Guidelines Amendment 599

            Guidelines Amendment 599, effective November 1, 2000,

adds the following paragraph to Application Note 2 of § 2K2.4

which governs the offense level calculation for § 924(c)

convictions:

            If a sentence under this guideline is imposed
            in conjunction with a sentence for an
            underlying offense, do not apply any specific
            offense characteristic for possession,
            brandishing, use, or discharge of an
            explosive or firearm when determining the
            sentence for the underlying offense. A
            sentence under this guideline accounts for
            any explosive or weapon enhancement for the
            underlying offense of conviction, including
            any such enhancement that would apply based
            on conduct for which the defendant is
            accountable under § 1B1.3 (Relevant Conduct).
            Do not apply any weapon enhancement in the
            guideline for the underlying offense, for
            example, if (A) a co-defendant, as part of
            the jointly undertaken criminal activity,
            possessed a firearm different from the one
            for which the defendant was convicted under
            18 U.S.C. § 924(c); or (B) in an ongoing drug
            trafficking offense, the defendant possessed
            a firearm other than the one for which the
            defendant was convicted under 18 U.S.C. §
            924(c). However, if a defendant is convicted
            of two armed bank robberies, but is convicted
            under 18 U.S.C. § 924(c) in connection with
            only one of the robberies, a weapon
            enhancement would apply to the bank robbery

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            which was not the basis for the 18 U.S.C. §
            924(c) conviction.

            Additional guidance is provided in the Reason for

Amendment, which explains that “no guideline weapon enhancement

should be applied when determining the sentence for the crime of

violence or drug trafficking offense underlying the 18 U.S.C. §

924(c) conviction, nor for any conduct with respect to that

offense for which the defendant is accountable under [Section]

1B1.3 (Relevant Conduct),”        Amend. 599, Reason for Amendment,

U.S.S.G. App. C at 72.

                  C)   Mount Vernon Robbery

            Among the issues raised at the sentencing hearing was

whether the robbery of the Mount Vernon Postal Station should be

considered for purposes of determining the appropriate guideline

range.    Because Mount Vernon is outside the venue of the Eastern

District of New York, the substantive robbery and § 924(c) counts

relating to that robbery were dismissed prior to trial.              The

Court determined, however, that the Mount Vernon offense, (which

was charged as an overt act under Count 1), should be considered

for purposes of the multi-count, multi-act analysis pursuant to

U.S.S.G. § 1B1.2(d)4 as being within the ambit of defendant’s



      4
       U.S.S.G. § 1B1.2(d) provided then, as now: “A conviction
on a count charging a conspiracy to commit more than one offense
shall be treated as if the defendant had been convicted on a
separate count of conspiracy for each offense that the defendant
conspired to commit.”

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Count 1 conspiracy conviction.         (See Apr. 28, 1994 Sentencing Tr.

at 36, 47-48.)      Since a postal employee suffered serious injuries

as a result of being pistol whipped by one of defendant’s co-

conspirators during the Mount Vernon robbery, a four-level

enhancement pursuant to Guideline § 2B3.1(b)(3)(B) was included

in the calculation.

            The Probation Department calculated the offense level

in the amended report for Count One as follows:

    Base Offense Level (§ 2X1.1(a), 2B3.1(a))                       20

    Plus: Robbery [at Mount Vernon] Post Office                     +2
    (§ 2B3.1(b)(1))

    Plus: Use of Weapon (§ 2B3.1(b)(2)(B))                          +4

    Plus: Serious Bodily Injury (§ 2B3.1(b)(3)(B))                  +4

    Plus: Employees Restrained (§ 2B3.1(b)(4)(B))                   +2
                                                                    __
    Adjusted Offense Level (subtotal)                               325


II.   Defendant’s Sentence Under 18 U.S.C.
      § 924(c) Complied With Applicable Law

            Defendant was convicted of using a firearm during a

crime of violence in violation of § 924(c) under counts 3, 21,

and 29.    As a result, he was sentenced on those three counts to a

total of 45 years, consisting of 60 months under Count 3

consecutive to the sentences imposed under counts 1, 2, 20, 28,


      5
       Since the Probation Department in its initial presentence
reports determined defendant’s combined adjusted offense level to
be 26, the inclusion of the Mount Vernon enhancements under Count
1 effectively increased his adjusted offense level by 6 levels.

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and 30, and 240 months under count 21 and under count 29,

consecutive to each other and to the sentences imposed on the

other counts of conviction, all as required under § 924(c)(1) as

it then read.6

            In urging a contrary result, defendant cites, inter

alia, Castillo v. United States, 530 U.S. 120 (2000), United

States v. Sims, 975 F.2d 1225 (6th Cir. 1992), and “the last

paragraph of Application Note (4) Weapon Enhancement § 2K2.4”

(Def.'s Feb. 25, 2008 Letter at 1.)

              Castillo is of no aid to defendant.         In that case, the

issue was whether the use of a “machine gun” in a § 924(c) charge

- with a concomitant increase in the mandated minimum sentence -

was an element of the crime for the trier-of-fact’s

determination, or a sentencing factor for the judge’s

consideration.      530 U.S. at 121.        The Supreme Court decided it

was the former.      Id.   However, the defendant here was not

sentenced based on the use of a machine gun or other weapon

resulting in an enhanced § 924(c) sentence.            Which is to say,

Castillo is not germane for present purpose.

            In Sims, “the indictment contain[ed] only one

substantive drug trafficking offense and separate counts under



      6
       Second or subsequent convictions under § 924(c)(1) now
require that the offender be sentenced consecutively to “term(s)
of imprisonment of not less than 25 years” per conviction. 18
U.S.C. § 924(c)(1)(C) and (D).

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 section 924(c) for weapons which f[e]ll into more than one

 weapons category.”      975 F.2d at 1235.      Given that “no defendant

 [may] be convicted [and sentenced] on more than one gun count

 relative to one drug trafficking” offense, corrective measures,

 as explained by the Sixth Circuit, had to be utilized at

 sentencing lest the defendant be “punish[ed] . . . twice for the

 same conduct” in violation of the Double Jeopardy Clause of the

 Fifth Amendment.      Id. at 1235.    No such conundrum was implicated

 in defendant’s case; each substantive robbery count of

 conviction, i.e. counts 2, 20, and 28, served as the predicate

 for a single corresponding § 924(c) gun count.            Moreover, absent

 from the guideline calculations for each of the substantive

 robbery claims is an enhancement for the use of a weapon

 consistent with then Application Note 2 to § 2K2.4 which provided

 in pertinent part: “[w]here a sentence under this section is

 imposed in conjunction with a sentence for an underlying offense,

 any specific offense characteristic for the possession, use, or

 discharge of a firearm . . . is not to be applied in respect to

 the guideline for the underlying offense.”7           See United States v.

 Contrera, 2009 WL 2383034, at *3 (E.D.N.Y. July 30, 2009) and

 United States v. Clemente, 2009 WL 1455825, at *1 (S.D.N.Y. May


       7
        To the extent defendant’s § 924(c)/§ 3582(c)(2) argument
 relies on Amendment 599, the Court hereby incorporates by
 reference those portions of its September 9, 2003 Memorandum and
 Order which rejected that same argument over seven years ago.
 See Sept. 9, 2003 Mem. & Order at pp. 4-7.

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 19, 2009).

             With respect to defendant’s reliance on “2K2.4

 Application Note:4 WEAPON ENHANCEMENT,” (Def.'s Aug. 24, 2007

 Letter at 2), he has advised the Court that he has reconsidered

 that argument after reviewing the government’s August 13, 2007

 letter and, as a result of that process, has concluded that the

 “Government is correct in their reading of this portion to

 Amendment 599 and [he] is sorry to have wasted the Court’s time

 on that part of Amendment 599.”         (Def.’s Feb. 25, 2008 Letter at

 1.)   Since that argument has been withdrawn, it will not be

 further addressed.

             In sum, defendant’s request for resentencing pursuant

 to 18 U.S.C. § 3582(c)(2) upon the ground that the portion of his

 sentence based on his three § 924(c) convictions was incorrectly

 calculated is denied as devoid of merit.

 III. Four Level Sentencing Enhancement Under Count 1,
      Made Pursuant to Guideline § 2B3.1(b)(3)(B), for
      Serious Bodily Injuries Sustained by a Mount Vernon
      Postal Employee was Properly Assessed

             Defendant contends that the captioned § 2B3.1(b)(3)(B)

 enhancement for serious bodily injury is an appropriate predicate

 for resentencing under § 3582(c)(2).          Implicit in that argument

 is the notion that Amendment 599 is implicated because a firearm

 was used to bludgeon the Mount Vernon victim thus causing his

 injuries.    However, a perusal of the text of the Amendment, as

 well as reasons for its adoption, fail to support such an

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 expansive reading.      Instead, the Amendment’s preclusive effect is

 clearly confined to weapon enhancements per se.            But even if,

 arguendo, the Amendment covered both the use of the weapon and

 the concomitant results attributable to that use, defendant’s

 position would lack merit.        The enhancement pertains to the Mount

 Vernon overt act charged in Count 1 which has no corresponding §

 924(c) count.     Accordingly, Amendment 599's goal of eliminating

 duplicative punishments for § 924(c) convictions linked to

 underlying crimes of violence or drug trafficking does not come

 into play.

                                  CONCLUSION

             For the reasons indicated, defendant’s § 3582(c)(2)

 application is denied in toto.8

             SO ORDERED.

 Dated:    December 22, 2010
           Central Islip, New York

                                     _________________________
                                     Denis R. Hurley, U.S.D.J.




       8
       As noted earlier in the text, it is difficult to discern
 and, thus, categorize the gravamen of the specific relief sought
 by defendant. Nonetheless, when defendant’s misplaced reliance
 on Amendment 599 is shorn from both prongs of his § 3592(c)(2)
 application, what remains appears to be a misnamed § 2255
 application. However, given defendant’s insistence that such is
 not the case (see May 24, 2007 Docket entry # 6), I have viewed
 his claims consistent with his request solely through the prism
 of § 3582(c)(2).

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